Case Number: 60A-2019—04335
Filed in 6th Division District Court
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Submitted: 4/2/2019 10:29 AM
Envelope: 1999941
Reviewer: Jacklyn Barraza




                      STATE OF RHODE ISLAND                                           DISTRICT COURT
                      PROVIDENCE, SC                                                  SIXTH DIVISION

                      OTORO, LLC

                     V                                                                 CA   No.

                     JOSE FARIA, MARTA FARIA,
                     individually and MARTA FARIA
                      as Administratrix of the Estate
                      of Apolonia Morais



                                                      COMPLAINT FOR EVICTION FOR REASON
                                                       QTHER THAN NQN PAYMENT 9F RENT

                                 1.    Plaintiff,   Otoro, LLC,    owns the premises
                                                                                  120 Lena Street, East Providence,
                                                                                              at
                                       RI 02914 (hereinafter, “the premises”) pursuant to a Foreclosure Deed (Ex.
                                       A).


                                       a.    The former owner, Apolonia Movias, passed away on June 10, 2014.
                                             However her spouse and daughter still unlawfully remain in possession        of
                                             the premises after the foreclosure sale.


                                 2.    Defendant, Jose Faria, unlawfully remains in possession of the premises as a
                                       tenant at sufferance. He remains in possession of the premises without the
                                       permission or consent           of,   or by   agreement     with, the Plaintiff.


                                 3.    Defendant, Marta Faria, unlawfully remains in possession of the premises as a
                                       tenant at sufferance. She remains in possession of the premises without the
                                       permission or consent           of,   or by   agreement     with, the Plaintiff.


                                 4.    Defendant, Marta Faria, as Administratrix of the Estate of Apolonia Morais,
                                       unlawfully remains in possession of the premises as a tenant at sufferance.
                                       The    Estate remains      in   possession of the premises without the permission or
                                       consent      of,   or by agreement with, the         Plaintiff.



                                 5.    Defendants have been provided notice to vacate the premises pursuant to
                                       General Laws § 34-18.1-2 (Ex. B) (Ex. C) (Ex. D).


                                 6.    Defendants have         failed to     vacate the premises.


                                 7.    Plaintiff    demands possession          of the premises.
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                                 8.    Plaintiff further    demands payment   of the    market value of the Defendants’
                                                                                       fair

                                       use and occupancy of the premises for      the period they were tenants at
                                       sufferance.


                            WHEREFORE           hereby demands Judgment for possession and the fair
                                                Plaintiff

                      market value of the premises for the time period Defendants used and occupied the
                      premises as tenants at sufferance, and costs.




                                        /s/   James    Moretti
                     James       Moretti      (#5092)
                      Resnick      & Caffrey
                     Attorneys for         Plaintiff

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